  Case 5:17-cv-00220-LHK Document 1380 Filed 01/22/19 Page 1 of 5




EXHIBIT 1 TO HUAWEI’S MOTION TO SEAL
       (PUBLIC REDACTED VERSION)
             PURSUANT TO ECF 1363
      Case 5:17-cv-00220-LHK Document 1380 Filed 01/22/19 Page 2 of 5
              HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY
                      JIAN XIN DING - 03/12/2018                        ·

 ·1· · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA
 · · · · · · · · · · · SAN JOSE DIVISION
 ·3

 ·4 FEDERAL TRADE COMMISSION,· · )
 · · · · · · · · · · · · · · · · )
 ·5· · · · · · · · Plaintiff,· · )
 · · · · · · · · · · · · · · · · )
 ·6· · · · · · · · VS.· · · · · ·)            CASE NO.
 · · · · · · · · · · · · · · · · )            17-CV-00220-LHK-NMC
 ·7 QUALCOMM INCORPORATED, a· · ·)
 · ·Delaware Corporation,· · · · )
 ·8· · · · · · · · · · · · · · · )
 · · · · · · · · · Defendant.· · )
 ·9· · · · · · · · · · · · · · · )
 · · · · · · · · · · · · · · · · )
 10 In re:· Qualcomm Antitrust· ·)            CASE NO.
 · ·Litigation· · · · · · · · · ·)            17-ND-02773-LHK-NMC
 11 _____________________________)

 12· · · · · · · UNITED STATES DISTRICT COURT

 13· · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

 14 _____________________________
 · ·IN RE:· QUALCOMM LITIGATION· ) CASE NO.
 15 _____________________________) 3:17-CV-00108-GPC-MOD

 16· · · · · · · · · **HIGHLY CONFIDENTIAL
 · · · · · · · · · ·ATTORNEY'S EYES ONLY**
 17

 18· · · · ·VIDEOTAPED DEPOSITION OF JIAN XIN DING

 19· · · · · · · · · · · · HONG KONG

 20· · · · · · · · ·Monday, March 12, 2018

 21

 22

 23

 24 REPORTED BY:
 · ·HEATHERLYNN GONZALEZ
 25 CSR #13646


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                         Page 122                                                 Page 124

                                    ·2· · ·Q· ·If you look at what's been marked as Exhibit
                                    ·3 2259, this is entitled Huawei's Proposal to Certain
                                    ·4 Terms of 3G and 4G Subscriber Unit and Infrastructure
                                    ·5 Equipment Licenses, dated November 14th, 2013.
                                    ·6· · · · ·Are you familiar with this document?
                                    ·7· · ·A· ·Yes.
                                    ·8· · ·Q· ·Did you have any role in the composition of
                                    ·9 this document, Exhibit 259?
                                    10· · ·A· ·Yes, I did.




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        Case 5:17-cv-00220-LHK Document 1380 Filed 01/22/19 Page 4 of 5



                                              Page 126                    Page 128




21· · · · ·THE WITNESS:· Yes.· Yes the proposal -- the
22 letter from the Huawei show that.




                                              Page 127                    Page 129
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                       HIGHLY CONFIDENTIAL - ATTORNEY'S EYES ONLY
                               JIAN XIN DING - 03/12/2018       Pages 170..172
                                                Page 170                                                    Page 172
                                                           ·1· · · · · · · · ·CERTIFICATE OF REPORTER
                                                           ·2· · ·I, Heatherlynn Gonzalez, a Certified Shorthand
                                                           ·3 Reporter, hereby certify that the witness in the
                                                           ·4 foregoing deposition was by me duly sworn to tell the
                                                           ·5 truth, the whole truth, and nothing but the truth in
                                                           ·6 the within-entitled cause; that said deposition was
                                                           ·7 taken down in shorthand by me, a disinterested
                                                           ·8 person, at the time place therein stated; and that
                                                           ·9 the testimony of said witness was thereafter reduced
                                                           10 to typewriting, by computer, under my direction and
                                                           11 supervision;
                                                           12· · ·That before completion of the deposition, that
                                                           13 review of the transcript was offered.· If requested,

14· · ·   · ·THE VIDEOGRAPHER:· This marks the end of      14 any changes made by the deponent (and provided to the

15 Disk   Number 5 on Jian Xin Ding, Volume One.           15 reporter) during the period allowed are appended

16· · ·   · ·Going off the record.· The time is 6:05.      16 hereto.

17· · ·   · · · · ·(At the hour of 6:05 p.m. the           17· · ·I further certify that I am not of counsel or

18· · ·   · · · · ·proceedings were concluded.)            18 attorney for either or any of the parties to the said

19· · ·   · · · · · · · · · · -O0O-                        19 deposition, nor in any way interested in the event of

20                                                         20 cause, and that I'm not related to any of the parties

21                                                         21 thereto.

22                                                         22 Dated:· Monday, March 12, 2018

23                                                         23

24                                                         24· · · · · ·__________________________________

25                                                         25· · · · · · ·Heatherlynn Gonzalez, CSR 13646

                                                Page 171
·1· · · I declare, under Penalty of Perjury, that the
·2 foregoing is true and correct.
·3· · · Executed this ______ day of ______________,
·4 2018, at
·5 _________________________________________________.
·6
·7
·8
·9
10· · · · · · · ·________________________________
11· · · · · · · · · · · JIAN XIN DING
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